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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


 CHIEF OF STAFF LLC,
                                          Plaintiff,
                                                       Civil Action No. 1:20-cv-03169
                        v.
                                                            NOTICE OF VOLUNTARY
 HISCOX INSURANCE COMPANY INC.,                         DISMISSAL WITHOUT PREJUDICE
                                                        PURSUANT TO RULE 41(a)(1)(A)(i)
                                        Defendant.




       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Chief of Staff LLC voluntarily

dismisses this action without prejudice and without costs to any party. Neither an answer to the

complaint nor a motion for summary judgment has been served.


Dated: May 21, 2021

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                             CERTIFICATE OF SERVICE

     I hereby certify that on May 21, 2021 the foregoing document was electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notifications to:

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